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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                              4:17CR3149
      vs.
                                                             DETENTION ORDER
LINDSEY R. KOCH,

                       Defendants.


      Defendant was previously released on conditions, but violated the terms of
that release by being unsuccessful discharged from a residential treatment
facility. Based on the evidence presented, the court finds Defendant cannot be
trusted to comply with the conditions of pretrial supervision and, as such,
Defendant’s release would pose a risk of harm to the community and a risk of
flight. Accordingly,

      IT IS ORDERED:


       The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of United States
Court or on request of an attorney for the Government, the person in charge of
the corrections facility must deliver the defendant to the United States marshal
for a court appearance.


      June 20, 2018.
                                                 BY THE COURT:

                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
